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                  UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
             Form 29. Request for Docket Sheet, Document, or Rules
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9th Cir. Case Number(s)              23-16023

Case Name         Kari Lake; Mark Finchem and Alan M. Dershowitz v. Bill Gates, et al.

What are you requesting?

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       A copy of the 9th Circuit docket sheet

       A copy of the following document(s) on the 9th Circuit docket:

Date and/or Docket Entry #                                Description of Document




Your Name        John D. Wilenchik, Esq.

Your mailing address
2810 N. Third Street


City Phoenix                                     State AZ           Zip Code 85004

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Signature      /s/ John Wilenchik, Esq.                                Date Oct 3, 2023

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